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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


 IN RE: MOVEIT CUSTOMER DATA
 SECURITY BREACH LITIGATION                             MDL No. 3083




                             NOTICE OF RELATED ACTIONS

       PLEASE TAKE NOTICE that pursuant to Rule 6.2(d) of the Rules of Procedure for the

United States Judicial Panel on Multidistrict Litigation, three new cases were filed which the

undersigned submits relate to the actions subject to the pending Motion for Transfer of Actions in

the above-captioned matter. The cases are Doe v. Progress Software Corporation, et al., Case

No. 1:23-cv-01933-JMC, D. Md.; Hunter v. The Johns Hopkins University, et al., Case No.

1:23-cv-01826-JRR, D. Md.; Gregory et al v. Johns Hopkins University et al., Case No. 1:23-

cv-01854-BPG, D. Md. A Schedule of Actions listing these new cases is attached, as well as

copies of the current dockets and Complaints.

Dated: July 20, 2023                         Respectfully submitted,

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